Case 16-20833-EPK Doc 877 Filed 05/30/17 Page 1of4

xk*

FILE THIS BALLOT ON OR BEFORE MAY 24, 2017, AT 5:00P.M.,
PREVAILING EASTERN TIME with:

Clerk of the Bankruptcy Court, 1515 North Flagler Drive, Room 801, West Palm Beach,
FL 33401

kk
If your Ballot is not received by the Clerk of the Bankruptcy Court on or before the above-stated
Voting Deadline and such deadline is not extended, your vote will not count as either an
acceptance or rejection of the Plan.

If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether or not you
vote. If you have more than one type of claim against any of the Debtors, separate Ballots must
be filed and you should receive a ballot of each type of claim eligible to vote. Contact the Plan
Proponents regarding incorrect or insufficient ballots.

Voting Classification and Amount. You are the holder of a Class 3 Claim (General
Unsecured Claim) against the Debtor or Debtors set forth below in the following

aggregate amount:

Creditor Name: Oscar Alfredo Camara y Gabriel Graciosi

Amount: $42,879.24

Item 1. Vote. On behalf of above listed Class 3 Claim, you vote to:
k One Box: KL Accept the Plan

C) Reject the Plan

1364756v1 999126,0001
Case 16-20833-EPK Doc 877 _ Filed 05/30/17 Page 2 of 4

Item 2. If you voted to Reject the Plan, leave Item 2 blank and proceed to Item 3. If you
Voted to Accept the Plan, select one of the following Elections Available Under the

Plan:

a.

You may mak. only one of the following Elections by cheching the box next to
the Election that you make. If you make more than one Election or if your
Election is unclear, then you shall be deemed to have elected Option 1
(investment Trust Election). Please review the Plan and Disclosure Statement
with respect to the following Election Options.

IF YOU DO NOT MAKE AN ELECTION: If you do not timely submit this
Ballot indicating your Election, of if your Ballot does not bear a valid
signature, or if you do not make one of the following Elections, or if you voted
to Reject the Plan, you shall be deemed to have selected Option 1 (Investment
Trust Election).

If you are not eligible to make Option 2 (the Cash-Out Election) or Option 3
(the Hybrid Election) pursuant to Article 5.3 of the Plan and you choose one of
those Options, you shall be deemed to have selected Option 1 (the Investment
Trust Election).

Each of the following Elections are set forth and described in Article 5.3 of the
Plan. The Plan Proponents recommend that you carefully review each Election.
You may wish to seek legal advice concerning the following Elections made
available under the Plan.

a I elect Option 1 (the Investment Trust Election). 1 wish to
participate in the Investment Trust as described in the Plan.

O I elect Option 2 (the Cash-Out Election). 1 wish to receive a
onetime distribution of 12.5% of my Claim and will not participate in the
Investment Trust.

0 I elect Option 3 (the Hybrid Election). I wish to have my
claim divided into two equal parts. For one part, I will receive a onetime
distribution of 12.5% of half of my Claim and will not participate in the
Investment Trust. For the other part, I will participate in the Investment
Trust as described in the Plan.

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1364756v1 999126,0001 3
Case 16-20833-EPK Doc 877 Filed 05/30/17 Page 3 of 4

Item 3. Acknowledgement and Certification. By :eturning this Ballot, I certify that (a) this
Ballot is the only Ballot submitted for the Class 3 General Unsecured Claim identified
in Item 1 above, (b) I have full power and authority to vote to accept or reject the Plan
for the Class 3 General Unsecured Claim identified in Item 1, (c) I was the holder of
the Class 3 General Un-ecured Claim identified in Item 1 as of April 28, 2017 at 5:00
p.m. (prevailing Eastern Time) and (d) I have received a copy of the Disclosure
Statement (including the exhibits thereto) and understand that the solicitation of votes
for the Plan is subject to all of the terms and conditions set forth in the Disclosure
Statement and Plan.

YOUR RECEIPT OF THIS BALLOT DOES NOT SIGNIFY THAT YOUR CLAIM
HAS BEEN OR WILL BE ALLOWED.

PLEASE COMPLETE EACH LINE AND WRITE LEGIBLY:
Name of Creditor: GAG QL=El GRAYOR

CAQ ALAS cc AM ALA
Social Security, Federa ID No.

Signature: a [ , J

Mage
Title: lh

(If Appropriate)
Street Address: INDALE Cig CHENAUT 148] PiSo 4 A
(AN26) Russ ales
AL Ge Ti AR
Telephone Number: €SY II S2322Zo0Si
E-mail Address; _- ATP COSI A Oaqmat .com
“OSCAR AL Fredo @. 3 maal, Gem

by 29, Corp

Date Completed:

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Case 16-20833-EPK Doc877_ Filed 05/30/17 Page 4of4

Item 4. Confirmation of address for distributions, communications.
Please check only one box under A. and one box under B.

A. Choose Only One:

kt Cilla send all monetary distributions to me at the address above.

or

O Please send all monetary distributions to me to the address noted on my Proof of
Claim for distributions.

B. Choose Only one:

oa I agree to accept all future communications and documents by email only at the
address above. I no longer wish to receive documents and communications by
mail. I prefer that the Bankruptcy Estate and Liquidating Trust save the costs of
sending paper documents to me and instead use email to send me all future
communications and documents. . .

or

0 Although service of communications and documents by mail may take longer and
cost more, I do not agree to accept communications by email only. Please use my
Street Address listed above as my address for all future communications and
documents.

or

0 Although service of communications and documents by mail may take longer and
cost more, I do not agree to accept communications by email only. Please use the mailing
address for notices set forth in my Proof of Claim as my address for all future communications
and documents.

This Ballot shall not constitute or be deemed a Proof of Claim or Equity Interest, an assertion of
a Claim or Equity Interest, or the allowance of a Claim or Equity Interest.
